
123 Ill. App.3d 1036 (1984)
463 N.E.2d 1023
In re J.W.M., a Minor (The People of the State of Illinois, Petitioner-Appellee,
v.
J.W.M., Respondent-Appellant).
No. 4-83-0801.
Illinois Appellate Court  Fourth District.
Opinion filed May 9, 1984.
Daniel D. Yuhas and Janet Sinder, both of State Appellate Defender's Officer, of Springfield, for appellant.
*1037 Thomas J. Difanis, State's Attorney, of Urbana (Robert J. Biderman and Perry Lee Miller, both of State's Attorneys Appellate Service Commission, of counsel), for the People.
Reversed and remanded.
PRESIDING JUSTICE MILLS delivered the opinion of the court:
The minor was committed as a delinquent.
His mother and father (with their addresses) were named in the petition.
The record does not reveal that notice was given to either parent of the hearings  adjudicatory and/or dispositional.
Only the mother was present at each.
The Juvenile Court Act provides that every parent, legal guardian, and custodian  or when necessary, the nearest relative  must be named as a respondent, and each is to be individually served unless that is not feasible, in which case service may be by publication. Ill. Rev. Stat. 1981, ch. 37, pars. 704-1, 704-3, 704-4.
The dispositional report here reflects that the minor visits his father often and receives spending money from him, and the minor says he has a good relationship with his father.
These facts distinguish this case from the exceptions to the notice requirements carved out by In re J.W. (1981), 87 Ill.2d 56, 429 N.E.2d 501, In re L.E.J. (1983), 115 Ill. App.3d 993, 451 N.E.2d 289, In re R.S. (1983), 117 Ill. App.3d 698, 453 N.E.2d 139, and In re J.P.J. (1984), 122 Ill. App.3d 573.
Notice to all required by the Act is mandatory.
The State confesses error.
Reversed and remanded.
TRAPP and WEBBER, JJ., concur.
